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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 06-4002-17-CR-C-NKL

BRUCE ALLEN JOHNSON

                                                                       USM Number: 18472-045

                                                                       Bruce C. Houdek, CJA
                                                                       400 Scarrit Bldg., 818 Grand
                                                                       Kansas City, MO 64106


                                               JUDGMENT IN A CRIMINAL CASE


The defendant was found guilty on Count 37s of a Superseding Indictm ent on August 27, 2007. Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s):


                                                                                              Date Offense             Count
       Title & Section                             Nature of Offense                           Concluded             Num ber(s)

 21 U.S.C. 843(b) & 18          Use of a Com m unication Facility to Facilitate the           July 15, 2005              37s
 U.S.C. 2                       Com m ission of the Crim es of Distribution and
                                Possession W ith the Intent to Distribute Marijuana

The defendant is sentenced as provided in the following pages of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.

The defendant has been found not guilty on counts 44 & 49 of a Superseding Indictm ent.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of nam e,
residence, or m ailing address until all fines, restitution, costs and special assessm ents im posed by this judgm ent are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any m aterial change in the
defendant’s econom ic circum stances.

                                                                       Date of Im position of Sentence: March 7, 2008




                                                                                                      Nanette K. Laughrey
                                                                                                 NANETTE LAUGHREY
                                                                                             UNITED STATES DISTRICT JUDGE

                                                                                                          March 11, 2008




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                                                    IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 48 M onths on Court 37s of a Superseding Indictment.

         The Court recom m ends to the Bureau of Prisons:

                  The Court recom m ends that the defendant be designated to an institution where he m ay
                  participate in the 500-Hour Residential Drug Treatm ent Program . The Court further
                  recom m ends that the defendant be designated to an institution as close as possible to the
                  Mid-Missouri area so that he m ay m aintain contact with his fam ily.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons before
2:00 P.M . on April 7, 2008, as notified by the Probation or Pretrial Services Office.




                                                         RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                             __________________________________
                                                                                    UNITED STATES MARSHAL


                                                                          By:__________________________________
                                                                                      Deputy U.S. Marshal




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                                                   SUPERVISED RELEASE

       Upon release from im prisonm ent, the defendant shall be on supervised release for a term of 1 year on Count 37s
of a Superseding Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not com m it another federal, state or local crim e.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall subm it to one drug test within 15 days of release from im prisonm ent and
at least two periodic drug tests thereafter, as determ ined by the court.

         The defendant shall not possess a firearm , destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgm ent im poses a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Paym ents sheet of this judgm ent.

        The defendant m ust com ply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the perm ission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall subm it a truthful and com plete written report within the
         first five days of each m onth;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and m eet other fam ily responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         adm inister any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

9.       The defendant shall not associate with any persons engaged in crim inal activity and shall not associate with any person
         convicted of a felony, unless granted perm ission to do so by the probation officer;

10.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-tw o (72) hours of being arrested or questioned by a
         law enforcem ent officer;


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12.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency
         without the perm ission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the
         defendant’s crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake such
         notifications and to confirm the defendant’s com pliance with such notification requirem ent.




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                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also com ply with the following additional conditions of supervised release:

1.       The defendant shall successfully participate in a substance abuse counseling program , which m ay include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the Probation Office.


2.       The defendant shall subm it his person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a reasonable tim e and in a reasonable m anner, based upon reasonable suspicion of contraband or evidence of a
         violation of a condition of release; failure to subm it to a search m ay be grounds for revocation; the defendant shall warn
         any other residents that the prem ises m ay be subject to searches pursuant to this condition.




                                     ACKNOW LEDGM ENT OF CONDITIONS

        I have read or have had read to m e the conditions of supervision set forth in this judgm ent and I fully understand them .
I have been provided a copy of them .

        I understand that upon finding of a violation of probation or supervised release, the Court m ay (1) revoke supervision,
(2) extend the term of supervision, and/or (3) m odify the conditions of supervision.

_______________________________________                   ____________________
Defendant                                                 Date

________________________________________                  ____________________
United States Probation Officer                            Date




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                                                CRIMINAL MONETARY PENALTIES


        The defendant m ust pay the total crim inal m onetary penalties under the schedule of paym ents set forth in the Schedule
of Paym ents.


             Total Assessment                                         Total Fine                                     Total Restitution

                    $100.00                                                 $                                                   $



         The defendant shall pay interest on any fine or restitution of m ore than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the
Schedule of Paym ents m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

         Lum p sum paym ent of the $100.00 Special Assessm ent is due im m ediately.

Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal
Bureau of Prisons’ Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.




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